                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                               WESTERN DIVISION
                                 5:13-cv-00607-BO

CALLA WRIGHT, WILLIE J. BETHEL, )
AMY T. LEE, AMYGALE L. WOMBLE, )
BARBARA VANDENBERGH, JOHN G. )
VANDENBERGH, AJAMU G.           )
DILLAHUNT, ELAINE E. DILLAHUNT, )
LUCINDA H. MACKETHAN, WILLIAM )
B. CLIFFORD, ANN LONG CAMPBELL, )
GREG FLYNN, BEVERLY S. CLARK,   )
CONCERNED CITIZENS FOR          )
AFRICAN-AMERICAN CHILDREN, and )
the WAKE CITIZENS ASSOCIATION   )
                                )
                 Plaintiffs,    )
      vs.                       )
                                )
THE STATE OF NORTH CAROLINA and )
THE WAKE COUNTY BOARD OF        )
ELECTIONS                       )
                                )
                 Defendants.    )

                                MOTION TO DISMISS

       NOW COMES defendant Wake County Board of Elections, and pursuant to

Fed.R.Civ.P. 12(b)(6) hereby moves the Court to dismiss this action on the grounds that

the complaint fails to state claims upon which relief may be granted;

       WHEREFORE, the defendant Wake County Board of Elections prays the

Court dismiss this action with prejudice and grant any other relief the Court may deem

appropriate.

       Respectfully submitted this the 4th day of November 2013.

                                     /s/ Roger A. Askew
                                     Deputy Wake County Attorney (NCSB 18081)
                                     E-mail: Roger.Askew@wakegov.com




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                       /s/ Scott W. Warren
                       Wake County Attorney (NCSB 14349)
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                       /s/ Kenneth R. Murphy, III
                       Assistant Wake County Attorney (NCSB 26573)
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CONCERNED CITIZENS FOR          )
AFRICAN-AMERICAN CHILDREN, and )                   CERTIFICATE OF SERVICE
the WAKE CITIZENS ASSOCIATION   )
                                )
                 Plaintiffs,    )
      vs.                       )
                                )
THE STATE OF NORTH CAROLINA and )
THE WAKE COUNTY BOARD OF        )
ELECTIONS                       )
                                )
                 Defendants.    )

         I hereby certify that on I electronically filed the foregoing MOTION TO
DISMISS and, I hereby further certify that pursuant to Local Civil Rule 5.1(b) counsel
for all other parties are being served as registered users of CM/ECF as provided for in
Local Civil Rule 5.1(e).

                                             This the 4th day of November 2013.

                                             /s/ Roger A. Askew
                                             Roger A. Askew
                                             Deputy Wake County Attorney
                                             Post Office Box 550
                                             Raleigh, North Carolina 27602
                                             Phone: (919) 856-5500
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